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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


    OI EUROPEAN GROUP B.V.,

                                                   Plaintiff,

             v.
                                                                  Case No. 1:16-cv-01533-ABJ
    BOLIVARIAN REPUBLIC OF
    VENEZUELA,

                                              Defendant.


                             JOINT MARCH 14, 2019 STATUS REPORT

           Pursuant to the Court’s March 8, 2019, order directing the parties to file a joint report on

 how this case should proceed by March 15, 2019, Plaintiff, OI European Group B.V. (“OIEG”),

 and Defendant, the Bolivarian Republic of Venezuela (“Venezuela”), submit this joint status

 report.

           On March 8, 2019, this Court denied Venezuela’s Motion to Dismiss. The parties have

 conferred and have made progress toward a consensual resolution which would potentially moot

 the need for continued briefing. However, as the parties have not yet reached an agreement on

 such a consensual resolution, the parties agree that the remaining issues are appropriate for

 resolution by dispositive motion, and respectfully propose the following briefing schedule:

           OIEG’s Motion for Summary Judgment:                 On or before March 27, 2019
           Venezuela’s Opposition:                             Fourteen days following Submission of
                                                                OIEG’s Motion for Summary Judgment
           OIEG’s Reply:                                       Seven days following Venezuela’s
                                                                Opposition




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       Venezuela’s position is that a motion for substitution or joinder is necessary prior to any

resolution of this matter. OIEG’s believes, inter alia, that the argument is foreclosed by this

Court’s ruling on March 8, 2019. If the parties are unable to reach a consensual resolution, then

Venezuela proposes that its motion to substitute or join the purchaser of some of the Award’s

proceeds, the opposition thereto, and any reply would be due under the same schedule as applies

above to OIEG’s Motion for Summary Judgment.

       If, in the interim, the parties reach agreement on a consensual resolution, the parties will

present a stipulated form of order to the Court.

Dated: March 14, 2019                              Respectfully submitted,

 GST LLP                                               MORGAN, LEWIS & BOCKIUS LLP

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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 14, 2019, I caused this document to be electronically filed

with the Clerk of the Court of the U.S. District Court for the District of Columbia by using the

CM/ECF system, which will automatically generate and serve notice of this filing to all counsel

of record. I further certify that I am not aware of any party who will not receive such notice.



Dated: March 14, 2019


                                                        ______/s/ Susan Baker Manning_______
                                                                 Susan Baker Manning




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